Case 2:18-cv-03893-RGK-AGR Document 81 Filed 05/14/19 Page 1 of 4 Page ID #:897




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13   Attorneys for Plaintiff and the Putative Class
14

15                        UNITED STATES DISTRICT COURT
16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
       Edwardo Munoz, individually and on
18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
19
                                Plaintiff,      NOTICE OF SETTLEMENT
20

21       v.
                                                Judge: Hon. R. Gary Klausner
                                                Place: Courtroom 850
22     7-Eleven, Inc., a Texas corporation
23
                               Defendant.
24

25                                              Complaint Filed: May 9, 2018

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Case 2:18-cv-03893-RGK-AGR Document 81 Filed 05/14/19 Page 2 of 4 Page ID #:898




 1         Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) hereby provides notice
 2   that the Parties have reached a settlement in this case, and states as follows:
 3         1. Plaintiff and Defendant have engaged in settlement discussions overseen
 4             by a respected third-party neutral and have reached an agreement in
 5             principle to resolve the claims brought by Plaintiff and the Class.
 6         2. The Parties are presently working to finalize a settlement agreement.
 7         3. The Parties respectfully request that a deadline of June 25, 2019 be set
 8             for the filing of Plaintiff’s Motion for Preliminary Approval of Class
 9             Action Settlement.
10         4. The Parties further respectfully request that all deadlines in the case,
11             including trial, be vacated at this time pending the settlement approval
12             process.
13

14                                           Respectfully Submitted,
15                                           EDWARDO MUNOZ, individually and on
16                                           behalf of all others similarly situated,
17
     Dated: May 14, 2019                     By:     /s/ Patrick H. Peluso
18                                                    One of Plaintiff’s Attorneys
19
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Case 2:18-cv-03893-RGK-AGR Document 81 Filed 05/14/19 Page 3 of 4 Page ID #:899




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      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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Case 2:18-cv-03893-RGK-AGR Document 81 Filed 05/14/19 Page 4 of 4 Page ID #:900




 1                           CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on May 14, 2019.
 5                                         /s/ Patrick H. Peluso
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       PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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